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                         October 24, 2019




                          ______________________________
                          Robyn L. Moberly
                          United States Bankruptcy Judge




                   IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION

In re:
                                                Chapter 11
USA GYMNASTICS,
                       Debtor.                  Case No. 18-9108-RLM-11


USA GYMNASTICS,                                 Adv. Pro. No. 19-50012
      Plaintiff,                                in 18-09108-RLM-11

v.
ACE AMERICAN INSURANCE COMPANY f/k/a
CIGNA INSURANCE COMPANY, GREAT
AMERICAN
ASSURANCE COMPANY, LIBERTY INSURANCE
UNDERWRITERS INC., NATIONAL CASUALTY
COMPANY, RSUI INDEMNITY COMPANY, TIG
INSURANCE COMPANY, VIRGINIA SURETY
COMPANY, INC. f/k/a COMBINED SPECIALTY
INSURANCE COMPANY, WESTERN WORLD
INSURANCE COMPANY, ENDURANCE
AMERICAN INSURANCE COMPANY,
AMERICAN HOME ASSURANCE COMPANY, and
DOE INSURERS,

         Defendants.




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       BANKRUPTCY COURT’S PROPOSED FINDINGS AND CONCLUSIONS
         WITH RESPECT TO USAG’S MOTION FOR PARTIAL SUMMARY
    JUDGMENT AND LIU’S CROSS- MOTION FOR SUMMARY JUDGMENT

             In accordance with 28 U.S.C. 157(c(1), the Bankruptcy Court now
tenders its proposed findings and conclusions :
      This matter came before the Court on the Motion for Partial Summary
Judgment (the “Motion”) filed by Debtor and Plaintiff (“USAG”) against Defendant
Liberty Insurance Underwriters (“LIU”) for an order pursuant to FED. R. CIV. P. 56(a),
made applicable to this Adversary Proceeding through FED. R. BANKR. P. 7056, and
S.D. Ind. L.R. B-7056-1, declaring the Debtor’s rights under an insurance policy sold
by LIU that is the property of the Debtor’s estate. [Dkt. 26, 27] In response, LIU filed
a Cross-Motion for Summary Judgment (the “Cross-Motion”) [Dkt. 130] and a
Memorandum of Law in Opposition to the Motion (the “Opposition”). [Dkt. 131]
USAG filed a Combined Response and Reply Brief (the “Response”) [Dkt. 146], and
LIU filed a Reply Memorandum in Further Support of its Cross-Motion (the “Reply”)
[Dkt. 163] USAG filed a Surreply in response to new evidence designated in the Reply.
[Dkt. 165] The Court held oral argument on September 17, 2019. The motions are
now ripe for decision.
                               LIU’S CONSENT OR WAIVER
      The court must first address USAG’s contention that, by filing its own Motion
for Summary Judgment, LIU has either consented to this court’s jurisdiction to
enter a final order in this matter or has waived its right to entry of final judgment
by the District Court.

      The issue before the court is a non-core claim upon which final judgment
must be rendered by an Article III court absent consent of the parties. 28 U.S.C.
§157(c)(2). A litigant may waive its right to Article III final disposition of its claim
through implied consent. Wellness Intern. Network, Ltd. v. Sharif, 135 S.Ct. 1932,
1947 (2015)(“[n]othing in the Constitution requires that consent to adjudication by a
bankruptcy court be express.”). The key inquiry is whether “the litigant or counsel
was made aware of the need for consent and the right to refuse it, and still

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voluntarily appeared to try the case before the non-Article III adjudicator.” Id. at
1948; Roell v. Withrow, 538 U.S. 580, 588, n.5, 123 S.Ct 1696. It is “good practice
for courts to seek express statements of consent or non-consent” and that is
amplified by Fed. R. Bankr. P. 7012 (b) which requires that a responsive pleading
include a statement that the party does or does not consent to entry of final orders
or judgment by the bankruptcy court. Wellness, 135 S.Ct. at 1948, n. 13.

      USAG filed this Complaint for Declaratory Judgment on February 1, 2019.
LIU’s Answer to the Complaint stated in paragraph 3, “LIU does not consent to the
Bankruptcy Court entering a final order or judgment in this case.” (Dkt. 105). LIU,
along with several other defendants, filed in this court a Motion for Withdrawal of
the Reference (Dkt. 37) which contained in bold type RELIEF IS SOUGHT FROM A
UNITED STATES DISTRICT JUDGE in the caption. LIU and other defendants
filed a Motion for Stay pending disposition of that motion by the District Court
(Dkt. 38). The court, in the May 15, 2019 hearing, heard oral argument and denied
the Motion to Stay Proceedings as to LIU only. (Dkt. 147) The first full paragraph
of LIU’s Motion for Summary Judgment (Dkt. 130) was followed by footnote 1 that
stated LIU, with the other defendants, had moved for withdrawal of the reference
and that it did not consent to this Court’s jurisdiction. That same footnote appeared
in LIU’s brief in opposition to USAG’s motion and in support of its cross-motion
(Dkt. 131, n.1) and its reply in further support of its cross-motion (Dkt. 163, n.1).
LIU also joined in the other defendants’ renewed Motion to Withdraw the Reference
after the District Court denied the first such motion. (Dkt. 208).

      The District Court has not withdrawn the reference. The pending Motion to
Withdraw the Reference did not stay the proceedings in the bankruptcy court under
Fed. R. Bankr. P. 5011(c). The bankruptcy court denied the stay as to LIU. LIU filed
its Cross-Motion for Summary Judgment here because currently there is no
alternative forum available in which to pursue the relief it seeks. (See, Stern v.
Marshall, 564 U.S. 462, 493 (2011) “Pierce did not truly consent to resolution of
Vickie’s claim in the bankruptcy court proceedings. He had nowhere else to go if he

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wished to recover from Vickie’s estate.”) LIU had no choice but to proceed in this
court and reserve its right to final adjudication by an Article III court. LIU has
neither impliedly consented to this court’s jurisdiction nor waived its right to entry of
final judgment by the District Court by filing its cross-motion. For that reason, this
Court makes its proposed findings and conclusions for de novo review by the District
Court pursuant to 28 U.S.C. §157(c)(1).
                                           GOVERNING LAW

          The parties agree that Indiana law governs this coverage dispute. As a
federal court exercising diversity jurisdiction, this Court is required to follow
the law as articulated by the Indiana Supreme Court. See Lexington Ins. Co.
v. Rugg & Knopp, Inc., 165 F.3d 1087, 1090 (7th Cir. 1999). If that Court has
not spoken to the issue, a federal court must predict how the Indiana
Supreme Court would decide the question. Id.

          The instant matter involves an insurance coverage dispute arising out
of “claims made” directors and officers (D & O) policy sold to USA Gymnastics
(“USAG”) by Liberty Insurance Underwriters (“LIU”) and, specifically, its
duty to defend its insured. LIU issued a Nonprofit Executive Advantage
Policy to USAG for the policy period May 16, 2016 through May 16, 2017.
The policy required LIU to “pay on behalf of the Insureds all Loss which they
shall become legally obligated to pay as a result of a Claim first made during
the Policy Period or Discovery Period, if applicable, against the Insureds for a
Wrongful Act which takes place before or during the Policy Period.” 1 The
policy is a claims-made policy, meaning that only claims first made during
the policy period may be considered for coverage.

                                         POLICY PROVISIONS

          The policy at issue defines a “claim” as:



1   Policy §1. Throughout this document, terms in bold are defined terms in the policy.

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        (a) a written demand for monetary or non-monetary relief against an
            Insured;
        (b) the commencement of a civil or criminal judicial proceeding or
            arbitration against an Insured; or
        (c) the commencement of a formal criminal administrative or
            regulatory proceeding or formal investigation against an Insured,
            including any brought before the Equal Employment Opportunity
            Commission or any similar state, local, or territorial governmental
            agency; including any appeal therefrom. A Claim will be deemed
            first made on the date an Insured receives a written demand,
            complaint, indictment, notice of charges, or order of formal
            investigation.” 2
        The policy defines the term “Insureds” to include both the “Insured
Organization” and “Insured Persons”.           3   The term “Insured Organization” is
“any entity named in item 1 of the declaration”.           4   USAG is the entity named
in the Declarations. The term “Insured Person” as defined by the policy
means “one or more natural persons who were, now are, or shall hereafter be
duly elected or appointed directors, trustees, officers, employees, committee
members or volunteers of the Insured Organization, or, with respect to a
Subsidiary operating outside the United States, their functional equivalent,
regardless of title.”   5



        The genesis of most, if not all, of the claims asserted against USAG for
which USAG seeks coverage stems from the sexual abuse perpetrated upon
athletes by Dr. Larry Nassar (“Nassar”) and the lawsuits brought against
USAG because of Nassar’s abuse (the “Nassar Athlete Lawsuits”). There
seems to be an easily resolved dispute about whether Nassar was a volunteer
or an employee of USAG. Since “Insured Person” includes both employees



2 Policy §23.3. Note that Endorsement 4 to the policy adds the word “formal” before the word
“investigation” to emphasize that a level of formality is required for an investigation to be a covered
claim. However, the word “formal investigation” was already part of the definition under § 23.3 and
are the last two words in the definition of Claim.

3 Policy §23.10.
4 Policy §23,11.
5 Policy §23.12


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and volunteers, this factual dispute is of no consequence and does not create
a genuine issue of material fact.

        The policy defines “Wrongful Act” as: “(a) any actual or alleged error,
misstatement, misleading statement, act, omission, neglect, or breach of duty, or
Employment Practices Wrongful Act committed or attempted by the Insured
Persons in their capacities as such or by the Insured Organization or (b) any matter
claimed against the Insured Persons solely by reason of their status as Insured
Persons.”    6     The policy further provides: “All Claims arising from the same
Wrongful Act or Interrelated Wrongful Acts shall be deemed one Claim and subject
to a single limit of liability. Such Claim shall be deemed first made on the date the
earliest of such Claims is first made, regardless of whether such date is before or
during the Policy Period.”       7



        “Interrelated Wrongful Acts” means “Wrongful Acts that have as a common
nexus any fact, circumstance, situation, event, transaction, clause or series of
causally connected facts, circumstances, situations, events, transactions, or
causes.” 8

        The LIU policy contains a Conduct Exclusion which provides as follows:

               “This Policy does not apply to any Claim made against any
        Insured: … based upon, arising from, or in any way related to: (a) any
        Insureds gaining in fact any personal profit, remuneration or
        advantage to which they were not legally entitled; or (b) any
        deliberately dishonest, malicious or fraudulent act or omission or any
        willful violation of law by any Insured; provided, however, this
        exclusion shall only apply if it is finally adjudicated that such conduct
        in fact occurred. For purposes of determining the applicability of this
        section, the Wrongful Act of any Insured Person shall not be imputed
        to any other Insured Person.” 9




6 Policy §23.22.
7 Policy §9.2.
8 Policy §23.13.
9 Policy §4.9.


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           The LIU policy contains a Bodily Injury Exclusion which bars coverage for
“any Claim made against any Insured” for “(a) bodily injury, sickness, disease,
death or (b) emotional distress, mental anguish….provided that part[s] (b)…of this
exclusion shall not apply to any Claim brought by or on behalf of any Third
Person” 10

           Finally, the LIU Policy contains a prior notice exclusion that bars coverage
for "any Claim made against any Insured… based upon, arising from, or in any way
related to any error, misstatement, misleading statement, act, omission, neglect or
breach of duty which has been reported or has been the subject of any notice under
any insurance policy of which this Policy is a renewal or replacement or under any
other policy which it may exceed in time.”     11



                               DEMANDS AND INVESTIGATIONS

           USAG received its first written demand letter from a former athlete alleging
abuse by Nassar on May 25, 2016, according to the affidavit of James Scott
Shollenbarger, Chief Financial Officer for USAG. (Dkt. 27-1) LIU questions
whether this was the first claim received by USAG relating to Nassar and
references possible discussions or allegations that may have occurred previously
wherein gymnasts may have reported abuse possibly by Nassar to certain coaches,
trainers and other adults. LIU also alleges that USAG maintained a file containing
complaints against as many as 54 other coaches over a ten year period. LIU makes
passing reference that one or more of these may constitute prior notice. However,
LIU designates no evidence and makes no cogent argument that this chatter
constituted notice of Nassar’s actions. A party cannot create a genuine dispute of
fact under Rule 56 by speculating. Pugh v. City of Attica, 259 F.3d 619, 625 (7th Cir.
2001). If LIU believed it needed discovery on this issue, it was required to “show by
affidavit or declaration that, for specified reasons, it cannot present facts essential
to justify its opposition.” Fed. R. Civ. P. 56(d). It has not done so, and so the Court

10   Policy §4.1.
11   Policy §4.3.

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finds no genuine dispute on the “first-made” issue. Woods v. City of Chicago, 234
F.3d 979, 990 (7th Cir. 2000) (holding that the failure to submit the required
affidavit “alone justifies affirmance of the district court’s decision” to grant a motion
for summary judgment without additional discovery). Since the duty to defend
arises under any circumstances where coverage may be required, the possibility
that there could be a defense to coverage does not negate the duty to defend, as will
be discussed later herein.

          Since there is no designated evidence of prior notice of Nassar’s
conduct and there are no allegations of a prior written demand regarding
Nassar having been received by USAG, the Court finds the first written
demand against USAG relating to the Nassar wrongful conduct occurred on
May 25, 2016.

          Intense fallout occurred shortly thereafter. Individual lawsuits were
filed by abuse survivors. The United States Olympic and Paralympic
Committee (“USOC”) sent a letter to USAG on January 25, 2018 advising
that a formal investigation (the “USOC Investigation”) was being launched
into “exactly who knew and who should have known of USAG athlete reports
of abuse by Dr. Nassar (and when) and did not report those allegations
appropriately, and of what systemic failures may have contributed to these
failures to report”. 12 The letter further stated that failure to cooperate would
result in revocation of USAG’s status as the national governing body for
gymnastics (“NGB”). The USOC is a federally chartered corporation
authorized by the Ted Stevens Olympic and Amateur Sports Act, 36U.S.C. §
220501, et. seq. The Act established the USOC as the body which has the
authority to approve and revoke membership in the USOC and has the
authority to recognize an amateur sports organization such as the NGB for
gymnastics and also has the authority to revoke its status as the NGB for



12   Shollenbarger Affidavit, Dkt #27-1 ¶7.

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gymnastics. Ultimately, on November 5, 2018, the United States Olympic
Committee brought a complaint against USAG seeking revocation of its
membership in the USOC and its recognition as the NGB for the sport of
gymnastics. 13 Revocation of its status as the NGB for gymnastics would be
the death knell for USA Gymnastics.

          On February 26, 2018, the Atty. Gen. of Indiana, Curtis T. Hill, Jr.
initiated a Civil Investigative Demand (“CID”) against USA Gymnastics, Inc.
(the “IAG Investigation”). The CID stated that the Attorney General “has
reasonable cause to believe that you may be in possession, custody, or control
of documentary material or may have knowledge of a fact that is relevant to
an investigation being conducted to determine whether (1) USA Gymnastics,
Inc., (“USAG”) has exceeded or abused the authority conferred on the
corporation by law and continues to do so, wasted or misapplied corporate
assets, is no longer able to carry out the corporation’s purpose, or otherwise
violated Indiana law…” and whether any corporate officer or director has
violated his or her duties under relevant Indiana law. The Demand contained
interrogatories and requests for production related to sexual abuse claims
brought against USAG. 14 It is clear that the Indiana Attorney General was
making demands pursuant to his statutory authority, not mere inquiries.

           Several committees of the United States House and Senate initiated
investigations (the “Congressional Investigations”) and sent letters to USAG
with requests for sworn testimony before Congressional committees,
production of documents and, in some cases, for follow-up information. Many
of the letters explicitly stated their investigations stemmed from the
allegations of abuse against Nassar, and all of them referenced policies and




13   Exhibit “B” to Shollenbarger affidavit, Dkt 27-1, p. 73
14   Exhibit “C” to Shollenbarger affidavit Dkt 27-1, p. 79


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procedures related to sexual abuse of athletes. 15 Most of the requests could
elicit evidence damaging to USAG, if such evidence existed.

          Two of USAG’s former employees, Stephen Penny and Deborah Van
Horn, have been indicted in a Texas court for crimes they allegedly
committed (the “Penny and Van Horn Criminal Matters”). Amy White,
another employee of USAG, has also been involved as a witness in the
criminal and civil cases arising from the Nassar abuses.

          USAG has sought a defense from LIU for all of these matters. LIU has
participated in the cost of the defense of the Nassar civil lawsuits brought by
gymnasts under a reservation of rights, along with other insurers. Initially,
LIU assured USAG that some of the investigations were “Claims” covered by
the policy but LIU ultimately denied coverage and has refused to provide or
pay for a defense for any of the matters described herein.

       INDIANA COURTS’ INTERPRETATION OF TERMS OF INSURANCE CONTRACTS

          Generally, in Indiana, contracts for insurance are subject to the same
rules of interpretation as are other contracts. Asbury v. Indiana Union
Mutual Insurance Co. 441 N.E.2d 332 (Ind. Ct. App. 1982); American
Economy Insurance Co. v. Liggett , 426 N.E.2d 136 (Ind. Ct. App. 1981). If
the policy language is clear and unambiguous, it should be given its plain and
ordinary meaning. Spears v. Jackson , 398 N.E.2d 718 (Ind. Ct. App. 1980);
Vernon Fire and Casualty Insurance Co. v. American Underwriters, Inc., 356
N.E.2d 693 (Ind. Ct. App. 1976).

          The Indiana Supreme Court in Beam v. Wausau Ins. Co., 765 N.E.2d
524, 528 (Ind. 2002) spoke to some special rules of construction of insurance
contracts that have been developed due to the disparity in bargaining power
between insurers and insureds. The court observed that, “[i]f a contract is



15   Paragraph 10 Shollenbarger affidavit, exhibits “D” and “E” Dkt. 27-1, p. 113 and 131

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clear and unambiguous, the language therein must be given its plain
meaning” quoting Allstate Ins. Co. v. Boles, 481 N.E.2d 1096, 1101
(Ind.1985). But, “[w]here there is ambiguity, insurance policies are to be
construed strictly against the insurer and the policy language is viewed from
the standpoint of the insured.” Bosecker v. Westfield Ins. Co., 724 N.E.2d
241, 244 (Ind. 2000) (quoting Am. States Ins. Co. v. Kiger, 662 N.E.2d 945,
947 (Ind.1996)). Any ambiguity in a policy term is interpreted in favor of the
policyholder and in favor of coverage. Eli Lilly & Co. v. Home Ins. Co., 482
N.E.2d 467, 470–71 (Ind. 1985). If there is more than one reasonable
construction of a term, then it is ambiguous. Id. A disagreement among
courts as to the meaning of a particular contractual provision is evidence that
an ambiguity may exist. But a division of authority is only evidence of
ambiguity. It does not establish conclusively that a particular clause is
ambiguous. Thomson Inc. v. Insurance Co. of North America, 11 N.E.3d 982,
993 (Ind. Ct. App. 2014), Hartford Acc. & Indem. Co. v. Dana Corp., 690
N.E.2d 285, 295 (Ind. Ct. App. 1997); Travelers Indem. Co. v. Summit Corp.
of Am., 715 N.E.2d 926, 938 (Ind. Ct. App. 1999). An ambiguity must be
resolved in favor of the insured and so an insurer may not offer extrinsic
evidence to prove the meaning of policy terms. Eli Lilly & Co., 482 N.E.2d at
471.

       In Indiana, the duty to defend is broader than the duty to indemnify.
Seymour Mgf. Co., Inc. v. Commercial Union Ins. Co., 665 N.E.2d 891, 892
(Ind. 1996). The duty is triggered if there is any potential for coverage. Id.;
Property Owners Ins. Co. v. Virk Boyz Liquor Stores, LLC, 219 F. Supp. 3d
868, 873 (N.D. Ind. 2016) (applying Seymour). The duty continues until the
insurer shows conclusively that there is no potential for coverage for any
claim. Federal Ins. Co. v. Stroh Brewing Co., 127 F.3d 563, 566 (7th Cir.
1997); Liberty Mut. Ins. Co. v. OSI Indus., Inc., 831 N.E.2d 192, 200 (Ind. Ct.
App. 2005). An insurer is not required to defend its insured where the claims


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asserted are “clearly excluded under the policy.” Jim Barna Log Sys.
Midwest, Inc. v. Gen. Cas. Ins. Co., 791 N.E.2d 816, 823 (Ind. Ct. App. 2003)
(it was clear and unequivocal that log home seller’s insurance did not provide
coverage for negligent advice, intentional or reckless acts, nor allegations of
conversion or misrepresentation or allegations of deceptive practices and
therefore there was no duty to defend), disapproved on other grounds as
stated in Trinity Homes LLC v. Ohio Cas. Ins. Co., 864 F. Supp.2d 744, 753
n.4 (S.D. Ind. 2012). If there is any potential for coverage, the insurer has a
duty to defend. Seymour, 665 N.E.2d at 891.

                                   ANALYSIS

      At the outset, it is important to note that Indiana takes a different approach
to the construction of insurance policy language than many states and this is
especially true when considering exclusions to policies. The following language
from State Auto. Mut. Ins. Co. v. Flexdar, Inc., 964 N.E.2d 845, 848 (Ind.2012)
succinctly states Indiana’s approach to insurance contract interpretation:

      “Interpretation of an insurance policy presents a question of law that is
      particularly suitable for summary judgment. See Cinergy Corp. v.
      Associated Elec. & Gas Ins. Servs., Ltd., 865 N.E.2d 571, 574
      (Ind.2007); Bosecker v. Westfield Ins. Co., 724 N.E.2d 241, 243
      (Ind.2000). “It is well settled that where there is ambiguity, insurance
      policies are to be construed strictly against the insurer and the policy
      language is viewed from the standpoint of the insured.” Allstate Ins.
      Co. v. Dana Corp., 759 N.E.2d 1049, 1056 (Ind.2001) (internal
      quotation marks omitted) (quoting Bosecker, 724 N.E.2d at 244). This
      is especially true where the language in question purports to exclude
      coverage. USA Life One Ins. Co. of Ind. v. Nuckolls, 682 N.E.2d 534,
      538 (Ind.1997). Insurers are free to limit the coverage of their policies,
      but such limitations must be clearly expressed to be enforceable. W.
      Bend Mut. v. Keaton, 755 N.E.2d 652, 654 (Ind.Ct.App.2001), trans.
      denied. “Where provisions limiting coverage are not clearly and plainly
      expressed, the policy will be construed most favorably to the insured,
      to further the policy's basic purpose of indemnity.” Meridian Mut. Ins.
      Co. v. Auto–Owners Ins. Co., 698 N.E.2d 770, 773 (Ind.1998). Where
      ambiguity exists not because of extrinsic facts but by reason of the
      language used, the ambiguous terms will be construed in favor of the

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        insured for purposes of summary judgment. See Cinergy, 865 N.E.2d
        at 574.
The duty to defend is broader than the duty to indemnify because the duty to
defend arises whenever there is a potential for coverage given the allegations
of the claim taken as true in light of the reasonable facts known and
available to the insurer. American States Ins. Co. v Aetna Life & Casualty
Co., 379 N.E.2d 510, 518 (Ind. Ct. App. 1978), citing United States Fidelity
and Guaranty Company v Baugh, 257 NE2d 699 (Ind. Ct. App. 1970); Virk
Boyz Liquor Stores, 219 F.Supp3d at 873; Seymour, 665 N.E.2d at 891. The
LIU policy provides a right and duty to defend any Claim or Wrongful Act. 16
In other words, the duty to defend is not limited to a Claim, as defined under
the policy, but also any Wrongful Act “involving the Insureds”.

                     The Intentional Acts (“Conduct”) Exclusion
                          and the Anti-Imputation Clause


        The Conduct Exclusion contains three elements: (a) an insured must
have committed the prohibited conduct, (b) there must be a final adjudication
that the conduct occurred by the insured, and (c) the claim must be based
upon, arising from or in any way related to the prohibited and adjudicated
conduct.
        As discussed at length above, insurance contract exclusions are subject
to strict scrutiny. Kiger, 662 N.E.2d at 947. Insurance contracts are
contracts of adhesion and under Indiana law, any exclusion in an insurance
contract must be plainly stated and all doubts or ambiguities are resolved
against the insurer. Virk Boyz Liquor, 219 F. Supp.3d at 873.
        The LIU policy contains an “Enhancement Endorsement for NonProfit
Risks” which states: “It is agreed that the Policy is hereby amended as


16To the extent there is an ambiguity in the LIU policy’s definition of a claim, it should be noted that
LIU’s counsel on March 12, 2018 wrote a letter to counsel for USAG stating that the USOC and
Congressional investigations constituted “Claims”. Liu has subsequently renounced this policy
interpretation. Exhibit “B” to Doc #27-1

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follows: The last paragraph of Section 4 is deleted and replaced with the
following: For purposes of determining the applicability of Sections 4.1
through 4.9, the Wrongful Act of any Insured Person shall not be imputed to
any other Insured Person.”      17   LIU’s position with regard to Nassar’s status is
not always clear. LIU posits that since Nassar is alleged to have molested
several hundred women, that his actions were not within the boundaries of
his position as a volunteer (or even as an employee) and, at times, LIU states
that Nassar is therefore not an insured. The problem for LIU is that if
Nassar is not an Insured, there is no construction under which his actions
could be imputed to any insured. At the same time, since Nassar was a
volunteer, or an employee, LIU contends that he was an insured and
therefore his actions are imputed to other insureds. Regardless of Nassar’s
status as an insured or not, it is the opinion of the court that the duty to
defend does not hinge on this issue. Nassar’s conduct has only been
adjudicated as to the ten crimes on which a guilty verdict was entered. 18
There are hundreds of claims that have not been adjudicated. Meanwhile,
LIU contends that once Nassar pled guilty to any willful violation of the law,
none of the claims for the same or similar conduct are covered by the policy.
The language of the policy controls and it states that the exclusion only
applies to willful violations of the law that have been adjudicated. The
exclusion only bars coverage for the ten cases that have been finally
adjudicated, not for the others. If LIU intended for all claims which allege
similar wrongful conduct (mass torts) to be excluded, whether finally
adjudicated or not, LIU could have so stated. USAG’s interpretation of the



17The last sentence of section 4, which is explicitly deleted by the Enhancement to Coverage,
provided that the anti-imputation provision only applied to section 4.9. However, the Enhancement
to Coverage extended the anti-imputation provision to all of paragraph 4 (Claim Exclusions).

18Larry Nassar was convicted on November 22, 2017 of seven counts of First Degree Criminal
Sexual Conduct and on November 29, 2017 of an addition three counts of First Degree Criminal
Conduct. All convictions were in Michigan. Dkt #27-2, page 9 of 153, October 26, 2018 coverage
letter from LIU to USAG’s coverage counsel.

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“final adjudication” requirement is reasonable and an ordinary policyholder
of average intelligence would conclude that the exclusion only bars coverage
for indemnity for costs arising from a finally adjudicated intentional wrongful
act.
       LIU further contends that because the policy treats all claims as
“related” and as a “single claim”, then all related claims must be subject to
the exclusion cited above, whether finally adjudicated individually or not. It
seems obvious that the treatment of related claims as a single claim has the
purpose of allocating liability between claims-made policies in successive
years. It would be unreasonable to treat all “inter-related claims” as the exact
same claim for any and all purposes. If the first reported claim was never
adjudicated, are all later claims not adjudicated? If any one claim is finally
adjudicated, are the hundreds of other claims also finally adjudicated? LIU
drafted the policy and should have included language clearly and
unambiguously stating the breadth of this exclusion, if it was so intended.
       Likewise, LIU has taken the position that the Nassar related Karolyi
litigation and the All Olympia lawsuits (referred to as the “Revocation
Lawsuits”) are not encompassed by LIU’s duty to defend, based upon the
Intentional Acts or Conduct exclusion of the policy.
       USAG points the Court to Frankenmuth Mut. Ins. Co. v Williams, 690
N.E.2d 675 (Ind. 1997) wherein the defendant’s husband admitted to
molesting the plaintiff tort victim while defendant was babysitting her.
Defendant was sued by the plaintiff tort victim and her mother for
permanent emotional damages as a result of the defendant’s negligent
supervision of her husband. Frankenmuth argued that there was no
insurance coverage because the injuries resulted from an intentional act. The
policy excluded coverage for injuries “caused intentionally by or at the
direction of any insured” Id. at 678. The Court noted that the plaintiffs were
conflating the guilty husband’s criminal acts and the wife’s negligent conduct.
Of course, there was no allegation that the defendant wife’s conduct was

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intentional. The claim against the wife was for negligence which exposed the
child to the risk. The Court noted in a footnote that excluding “negligence
from the insurance policy was not consistent with the justification for such
exclusions, which is the assumption that such acts would be encouraged, or at
least not dissuaded, if insurance were available to shift the financial burden
from the wrongdoer to the insurer” Id., fn 4, citing American States Ins. Co, v
Borbor, 826 F.2d 888 (9th Cir. 1987). Obviously, the abuse survivors do not
allege that USAG intentionally allowed the abuse to occur but rather that
USAG breached various duties it owed to the athletes. Therefore, this
exclusion does not apply to deny a defense to USAG in the interrelated
Nassar matters.
      The secondary position taken by LIU is that the “any insured”
language bars coverage and eliminates the duty to defend. LIU cites to
Holiday Hospitality Franchising, Inc. v AMCO Ins. Co., 983 N.E.2d 574 (Ind.
2013) which also involved a sexual molestation. The insurance policy in the
Holiday Hospitality case provided a duty to defend and coverage for claims
for bodily injury and personal and advertising liability. The policy explicitly
excluded coverage for “the actual or threatened abuse or molestation by
anyone of any person while in the care, custody or control of any insured,” for
the negligent hiring or retention “of a person for whom any insured is or ever
was legally responsible” and who commits the abuse (emphasis in original).
Id. at 581 . The Court held that the use of the word “any” conclusively barred
coverage for all co-insureds.
      As USAG points out, the policy language of Frankenmuth is far more
similar to the LIU policy exclusion than is the policy language of Holiday
Hospitality. The LIU policy exclusion does not reference negligent hiring or
supervision torts but the Holiday Hospitality exclusion does. The Holiday
Hospitality exclusion puts the purchaser of the policy on notice that there
was no coverage for negligence for any insured related to abuse by anyone.
That is not the case in the LIU policy. LIU does not exclude coverage for

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negligence nor specifically mention an exclusion for the actual or threatened
abuse of a person. The word “any” can mean every insured or it can mean the
specific insured who committed the wrongful act, without more clarifying
language. Frankenmuth was the earlier of the Indiana Supreme Court cases
but Holiday Hospitality does not expressly overrule it or even mention it. If
the Indiana Supreme Court intended to overrule significant caselaw, it would
have addressed it directly. Simply put, Holiday Hospitality does not overrule
the holding in Frankenmuth. It addresses different contract language.
      The policy considerations also point toward a narrow interpretation of
the LIU exclusion. It’s hard to imagine purchasing a policy that would
provide no coverage to the innocent insureds if any one of them intentionally
committed an intentional wrongful act. An average policyholder of
reasonable intelligence would read the LIU policy exclusion to only bar
coverage for the offending person.
      LIU’s argument goes one step further and contends that the anti-
imputation clause actually imputes the exclusion to USAG because it
specifically states that there is no imputation to Insured Persons but doesn’t
mention Insured Organization. LIU contends that, by omission, the exclusion
is imputed to the Insured Organization. However, if the anti-imputation
clause was intended to exclude coverage to the Insured Organization, it
should have simply stated that the wrongful acts of any Insured is not to be
imputed to other Insured Persons but is imputed to the Insured
Organization, especially since the Organization is the Parent Organization
named in the Declarations. Organizations are comprised of individuals whose
efforts, endeavors, and energy are generated toward the mission of the
organization. The exclusion, as argued by LIU, would bar coverage for all
instances of liability arising from intentional wrongful conduct of any of the
Parent Organization’s covered individuals and leaves the Organization
without insurance.



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                    The Congressional and USOC Investigations are “Claims”

          LIU first argues that it has no obligation to defend the Congressional
Investigations or the USOC Investigation because they are not “Claims.” 19

           USAG alleges that the Congressional Investigations and the USOC
Investigation are “claims” and thus LIU has the duty to defend. LIU contends that
these investigations are neither “formal proceedings” nor “formal investigations” as
provided for in the definition of “claim” under subsection (c). The terms “formal,”
“investigation,” and “proceeding” are not defined in the policy. LIU relies on a
handful of non-Indiana cases that confine a “proceeding” to judicial or quasi-judicial
proceedings and limit “formal investigations” to ones where a subpoena is issued or
other similar coercion is actively present. But LIU’s “claim” definition picks up
lawsuits in a separate section (§23.3(b)), and so the proceedings and investigations
referred to in §23.3(c)) must mean something more.

                                        “Proceedings”

          LIU cites two non-Indiana cases to define the plain meaning of “proceeding”.
One case defined it as a “formal legal action or hearing conducted in a court of law
or before some other official tribunal”. See Office Depot v. Nat’l Union Fire Ins. Co.,
734 F.Supp2d 1304, 1319 (S.D. Fla. 2010). Another court defined “proceeding” as
“the regular and orderly progression of a lawsuit, including all acts and events
between the time of commencement and the entry of judgment” or “any procedural
means for seeking redress from a tribunal or agency.” MusclePharm Corp. v.
Liberty Ins. Underwriters, Inc., 712 Fed. Appx. 745, 755 (10th Cir. 2017). Office
Depot recognized that, while a “proceeding” surely includes a “legal action” or
“lawsuit”, it also is broad enough to cover “the business conducted by a court or
other official body; a hearing.” Office Depot, 734 F.Supp.2d at 1319. These cases
demonstrate that a “proceeding” means more than a “legal action” or a “lawsuit”.



19   Policy §23.3

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       The plain meaning of ‘proceeding” is broader than “suit” and Indiana courts
have held that the narrower term “suit” is elastic enough to include “adversarial
administrative proceedings”. Dana Corp., 690 N.E.2d at 296. American Chemical
Service, Inc. v. U.S. Fidelity & Guaranty Co., No. 2:13-cv-177 JVB, 2015 WL
1524590 (N. D. Ind. April 2, 2015). Both Dana and American Chemical involved an
insurer’s duty to defend “any suit” or “lawsuit” against insureds who had been
served with either a “PRP” (potentially responsible person) letter or “§104” demand
for information or documents from the EPA. Both courts found that the insurer had
a duty to defend as those actions fit the definition of “suit” or “lawsuit” under the
policies.

                                “Formal Investigation”

       LIU argues that the Congressional and USOC investigations are not “formal
investigations” because a “formal” investigation requires some sort of coercive or
compulsory process as opposed to a mere “request for information and explanation.”
Hoyt v. St. Paul Fire & Marine Ins. Co., 607 F.2d 864, 866 (9th Cir. 1979) (stating
that a “request for information and explanation” cannot transform an inquiry into a
“Claim” (emphasis added)); accord ACE Am. Ins. Co. v. Ascend One Corp., 570 F.
Supp. 2d 789, 796 (D. Md. 2008) (noting that “investigative demands have been
found to constitute a claim” when “the insured was required to produce testimony
and documents pursuant to an ongoing investigation of its activities” as the goal
was ultimate prosecution, but non-compulsory investigations would not constitute a
claim (emphasis added)). LIU argues that there is a difference between complying
with a mandatory demand for document production or testimony in the context of
an intended prosecution against the insured, and cooperating with a non-coercive,
oversight investigation that does not pose an immediate risk of, or result in, a
lawsuit.

       The insured in Hoyt was sued for malpractice for tax consequences arising
from a will he had drawn. The insured received a letter from the attorney handling
the decedent’s estate that wondered why the insured included provisions in the will

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that simply created substantial taxes. Nothing in the Hoyt case suggested that the
definition of “claim” under that policy included an “investigation”. The court there
found that the letter was merely a request for information or explanation and did
not constitute a “claim” under the policy. Hoyt, 607 F.2d at 866. The ACE
American case involved a policy where a “claim” was defined as “a civil,
administrative or regulatory investigation against any Insured commenced by the
filing of a notice of charges, investigative order or similar document”. ACE
American, 570 F.Supp2d at 793. The insured there was served with both a
subpoena and a Civil Investigative Demand and thus those “investigations” were
covered. Id. at 796.

      The insureds in both Office Depot and Musclepharm were denied coverage for
investigations that were not compulsory. The insured in Office Depot sought recovery
of costs incurred in voluntarily responding to an SEC investigation that did not
culminate in the filing of a judicial or administrative complaint by the SEC against
the company or its officers or directors. The policy in Office Depot defined “claim” as
“a civil, criminal or administrative or regulatory investigation of an Insured Persons”.
That definition was further narrowed to cover only such investigations where the
insured was identified in writing by the investigation authority as a target against
whom a proceeding may be commenced or, in the case of SEC investigations, one
where the Insured Person had been served with a subpoena. Office Depot, 734
F.Supp2d at 1320. Because neither of these “discrete signal points” had yet occurred
when the insured cooperated with the SEC and voluntarily provided documents and
made its officers and directors available for sworn testimony, costs incurred in that
voluntary act of cooperation were not covered. Id. at 1321.

      The definition of “claim” in the Musclepharm case expressly was contingent
upon the insured person receiving a “Wells Notice” or target letter in connection with
the investigation. Musclepharm, 712 Fed. Appx. at 753. The court logically concluded
that the “claim” definition was not triggered until the Wells Notices were issued and



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therefore there was no coverage for costs incurred in the insured’s voluntary response
to SEC inquiries before that point. Id at 755.

        All of these cases are distinguishable in that the definition of claim in those
policies either did not include “investigation” or the “investigation” covered was
contingent upon the further documentary evidence identifying the insured as a target
or the filing of some type of notice. There is no such contingency in the Policy here.
LIU argues that none of USAG’s officers or employees were subpoenaed. LIU could
have written a triggering event into the definition of claim here (such as service of a
subpoena upon the Insured) as did the insurer did in ACE American. It did not.

        The plain meaning of “formal” does not include a compulsory element.
“Formal” includes “relating to or involving…structure”, “following with established
form, custom or rule” and “done in due or lawful form”, “characterized by punctilious
respect for form,” or “rigidly ceremonious.” 20            Nothing in the plain meaning of
“formal investigation” requires a compulsory process. Rather, the adjective “formal”
refers to the character of an investigation, not to any instrument compelling
cooperation. Thus, a “formal investigation” connotates an orderly or official inquiry
conducted according to established forms, customs or rules.

        Congressional hearings are “formal” in any ordinary sense of the word. They
involve sworn testimony, document production, virtually unfettered cross-
examination, and plenty of lawyers. The USOC Investigation was also “formal” (and
coercive) because the USOC required USAG to comply with the investigation or lose
its status as an NGB. [Dkt. 133-4, at 2–4.] At the very least, the term “formal” is
ambiguous and must be construed in favor of coverage. Eli Lilly & Co., 482 N.E.2d
at 470–71; Kiger, 662 N.E.2d at 947–48 (holding that different construction of terms
by insurers evinces ambiguity).




20Formal, MERRIAM-WEBSTER ONLINE DICTIONARY, https://www.merriam-
webster.com/dictionary/formal (definitions 2 and 3); Summit, 715 N.E.2d at 937 (holding that
ordinary policyholders may consult a dictionary for undefined terms).

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           Even if a compulsory element can be read into the plain meaning of “formal
investigation”, the Congressional and USOC Investigations still qualify. The record
contains excerpts from the May 23, 2018 and June 5, 2018 congressional hearings
that demonstrate that USAG’s failure to cooperate with document or witness
production would result in substantial risks and the likely issuance of subpoenas for
the same. An even more compelling outcome would have resulted from failure to
cooperate with the USOC’s investigation. The Ted Stevens Olympic and Amateur
Sports Act discussed previously gave the USOC plenary power over U.S. Olympic
organizations and NGB’s. 36 U.S.C. §220521. The statute expressly allows the
USOC to “place conditions on [a NGB’s] continued recognition.” Id. §220521(d).
The USOC has the power to decertify an NGB and without USOC recognition,
USAG would not be able to operate as an “Olympic” entity. §220521 (a), (c). The
USOC investigation was a precursor to the later USOC decertification proceeding
that sought to strip USAG of its NGB status. The very NGB status upon which
USAG staked its continued viability was threatened. It is disingenuous to describe
the USOC investigation as noncompulsory. Both the Congressional investigation
and the USOC investigation are “formal proceedings” and “formal investigations”
and thus are “claims”.

            The Bodily Injury Exclusion does not Apply to the Nassar Athlete Lawsuits
                             or the Van Horn Criminal Matter
           LIU contends that it has no duty to defend the Nassar Athlete Lawsuits and
the Van Horn Criminal Matter because of the Policy’s “bodily injury exclusion”.      21


While this provision excludes claims for bodily injury, emotional distress and
mental anguish, it contains a carve-out for emotional-distress and mental anguish
claims brought by or on behalf of any third person. Of particular note is that the
Policy excludes claims “for” bodily injury, and not “arising out of or related to”
bodily injury.




21   Policy §4.1.

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      LIU argues that Nassar Athlete Lawsuits are based on the sexual assault of
minors (i.e., bodily injury) and it is of no moment that the Nassar Athlete Lawsuits
do not specifically state a cause of action for bodily injury. LIU cites Breland v.
Arena Football One, LLC, 221 F. Supp. 3d 799, 804 (E.D. La. 2016) for the
proposition that courts have applied a “for” exclusion like the one in the LIU Policy
to find that there is no coverage where the underlying claim is one that falls within
the applicable exclusion, regardless of the stated cause of action or form of the
claim. The Court in Breland found that the bodily injury exclusion in a D&O policy
precluded coverage for claims brought by a professional football player. However, in
that case, the claim against the insured did seek damages for medical expenses
related to concussions, a bodily injury, so it was not a stretch to find that the claim
was “for” a bodily injury. LIU further attempts to illustrate the point that the
stated cause of action does not control and cites L.A. Lakers, Inc. v. Fed. Ins. Co.,
No. CV 14-7743 DMG (SHx), 2015 WL 2088865 at *5-9 (C.D. Cal. Apr. 17, 2015)
where the court held that the invasion of privacy exclusion in D&O policy precluded
coverage for injuries claimed in a cause of action for violation of the Telephone
Consumer Protection Act (TCPA). The court there reasoned that the TPCA was
enacted to protect the privacy interests of telephone subscribers, and thus, a stated
cause of action for a TPCA violation fell under the “invasion of privacy” exclusion
and was not covered.

      The exclusion here is “for” bodily injury claims, not claims “arising from or
related to” bodily injury claims. The latter excludes a wider net of claims, including
claims for lost wages. Nothing in the record indicates that the Nassar Athlete
Lawsuits allege damages solely for physical injury to the athletes. Nothing in the
record indicates that the Nassar Athlete Lawsuits state a cause of action under a
statute that implicitly can be interpreted as a claim “for” bodily injury.

      Even if the Nassar Athlete Lawsuits state claims “for” bodily injury, they are
excepted under the carve-out for emotional distress and mental anguish claims of
third parties. Virtually all of the athlete lawsuits seek relief for emotional and

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mental injury, and LIU has not rebutted this fact. The duty to defend requires LIU
to defend the entire case if one aspect of it is covered, even if the claims also seek
excluded relief. Seymour, 665 N.E.2d at 892; Stroh Brewing Co., 127 F.3d at 566;
OSI Indus., Inc., 831 N.E.2d at 200.

      LIU’s application of the bodily injury exclusion to the Van Horn Criminal
Matter is similarly unpersuasive. A criminal charge, even one alleging bodily injury,
is a claim “for” an offense against the State, not a claim “for” bodily injury. See
Shelter Mut. Ins. Co. v. Bailey, 513 N.E.2d 490, 497 (Ill. Ct. App. 1987); In re Barr,
13 S.W.3d 525, 533 (Tex. 1998); State v. Almendarez, 301 S.W.3d 886, 893 (Tex. Ct.
App. 2009). At the very least, this is a reasonable way to interpret the exclusion,
and it governs as a matter of law. Liggett, 426 N.E.2d at 144. (“Where any
reasonable construction can be placed on a policy that will prevent the defeat of the
insured’s indemnification for a loss covered by general language, that construction
will be given.”) Neither the Nassar Athlete Lawsuits nor the Van Horn indictment
is excluded from coverage under the bodily injury exclusion.

                              Interrelated Wrongful Acts
      LIU contends that the Penny and Van Horn Criminal Matters and the Amy
White matters arose after its policy terminated and are not related to claims “first
made” during its policy period. It argues that these claims are insufficiently related
to the Nassar claims to justify treating them as “first made” during the LIU policy.
These are LIU’s only interrelatedness objections, though some other claims arose
after the policy period ended. LIU has forfeited any argument on the claims it did not
argue. Woodruff v. Am. Family Mut. Ins. Co., 291 F.R.D. 239, 242 (S.D. Ind. 2013).

      Penny is the former CEO of USAG and was indicted in the State of Texas for
the third degree felony of tampering with physical evidence. Specifically, he was
accused of intentionally destroying or concealing records and documents related to




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Larry Nassar that were kept at the Karolyi Ranch in Walker County, Texas with
the intent to impair the availability as evidence in the investigation.      22


        Van Horn also is a former USAG trainer and employee and was indicted in
the State of Texas for the second degree felony of sexual assault of a child. The
indictment reads that she did “then and there, acting as a party with one or more
individuals, intentionally or knowingly cause the penetration of the female sexual
organ of Ruth (a pseudonym) by defendant’s finger, without the consent of Ruth (a
pseudonym).”     23   LIU reads this language to mean that Van Horn herself
perpetrated the sexual assault. USAG, in its opening Brief in Support of its Motion
for Partial Summary Judgment contends that Van Horn’s indictment “deals with an
instance where Van Horn was allegedly in the same room as Nassar when he
abused an athlete.” (Dkt. 27, p. 20).
        Amy White was subpoenaed to appear and testify before a grand jury in
Walker County, Texas, but nothing in the materials designated by the parties
indicates that White in fact did appear and testify. Ms. White was also subpoenaed
to appear and testify in a deposition in one of the athlete lawsuits against Nassar.
        LIU alleges that it has no duty to defend the Penny and Van Horn Criminal
Matters or the White deposition or grand jury matters because those claims were
made outside the Policy Period and do not constitute “Interrelated Wrongful Acts”.
The Policy covered claims first made against an insured during the Policy Period as
well as post-policy claims that were related to a claim initially made during the policy
period. 24 As previously discussed, a post-policy claim must be based on the same or
similar “wrongful act” or “interrelated wrongful act” that generated a claim first made
within the policy period to be covered. 25 And an “Interrelated Wrongful Act” must
have as a “common nexus any fact, circumstance, situation, event, transaction, cause




22 Shollenbarger Affidavit, Dkt. 27-1, p. 158
23 Shollenbarger Affidavit, Dkt. 27-1, p. 143
24 Policy § 9.2
25 Policy § 23.22




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or series of causally connected facts, circumstances, situations, events, transactions
or causes.” 26

          Claims must share a “sufficient factual nexus” to be “interrelated”. Glascoff
v. OneBeacon Midwest Ins. Co., No. 13 Civ. 1013 (DAB), 2014 WL 1876984 at *5
(S.D.N.Y. May 8, 2014). A “sufficient factual nexus” exists where the claims “are
neither factually nor legally distinct, but instead arise from the common facts and
where logically connected facts and circumstances demonstrate a factual nexus
among the [c]laims.” Weaver v. Axis Surplus Ins. Co., No. 13-CV-7374 (SJF)(ARL),
2014 WL 5500667 at *12 (E.D.N.Y. October 30, 2014).
          Courts have interpreted identical or substantially similar language in several
contexts. The District Court for the Northern District of Indiana applied Ohio law
in interpreting this identical language in Columbus Life Ins. Co. v. Arch Ins. Co.,
No. 3:14-CV-01659, 2016 WL 2865952 (N. D. Ind. May 17, 2016). There, a financial
and tax advisor recommended that his client establish a “Section 419 Plan”, and
later, a “Section 79 Plan”. The client sued the advisor, alleging that he knew, but
intentionally withheld from the client, that the IRS considered those plans to be an
abusive tax shelter for which contributions were not deductible. A second client
sued the advisor in a Texas state court for fraud, negligent representation,
negligence, and unjust enrichment for the misrepresentations he made to induce
the client into participating in the plans. The second client’s claim was made
outside the policy period and the policy there, like the Policy here, was a “claims
made” policy which covered “related” post policy claims. The claims were found to
be related because both arose out of the agent’s misrepresentation of the tax
advantages of the plans. Id. at *9.
          In Weaver, the Court found that a criminal indictment against an insured
company’s CEO for conspiracy, mail fraud and wire fraud in connection with the
company’s operation was interrelated to a prior 2007 letter to the company from the
Maryland Attorney General concerning the company selling business opportunities


26   Policy§ 23.13

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in violation of disclosure and antifraud provisions of the Maryland Business
Opportunities Sales Act. Both claims involved false statements about the profits
and earnings to be earned from business opportunities with the company. The 2007
letter and the criminal indictment were deemed one claim. Weaver, at *13.
      In Ciber, Inc. v. ACE American Ins. Co, 261 F. Supp 3d. 1119 (D.Colo. 2017),
the developer of a surveillance system that procured the bid to install cameras by
the city of New Orleans sued the insured who was an outside contractor for the
city’s technology work. The suit alleged the insured copied the developer’s system
and sold it to others. A data systems company who was part of the team that
developed the surveillance system later sued the insured and alleged that the
insured and the developer entered into a kickback scheme that resulted in the
misappropriation of the company’s confidential and business information. The
claims were interrelated because they both arose from the “single scheme” involving
the surveillance system project and sought a single outcome to cut out the developer
and data systems company from current and future business dealings. Id. at 1128.
In all three of these cases, the claims were factually and legally similar enough to
establish a “common nexus”.
      Claims that may share only a tenuous factual overlap have been found not to
be interrelated. In Glascoff, the board members of a failed bank taken over by the
FDIC received demand letters from the FDIC asserting claims of breach of fiduciary
duties of loyalty due to their failure to supervise and manage the Bank’s affairs to
ensure compliance with banking regulations. The letter cited the board members’
deficient policies, internal controls, and practices and was especially critical of the
members’ failure to act on allegations of improper conduct of the Bank’s former
CEO. A subsequent claim was brought by plaintiffs who alleged that the Bank’s
CEO fraudulently induced them to invest money with certain companies. The suit
accused the board members of lax oversight of the CEO and lack of internal
controls. The Court found that the claims were not interrelated because the FDIC
letter alleged that the board members failed to act on allegations concerning the
CEO while the investors’ lawsuit alleged failure to oversee and control the CEO.

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The two claims did not share parties, legal theories or requests for relief. Glascoff
at *7.
         The exact language found in the Policy was interpreted to find that the
specific litigation exclusion did not apply in Pfizer, Inc. v. Arch Ins. Co., C.A. No.
N18C-01-310 PRW CCLD, 2019 WL 3306043 at *10 (Del. July 23, 2019)27. In Pfizer,
the insured was a co-marketer of the drug Celebrex. Shareholders sued the insured
for fraudulent and misleading statements made regarding the gastrointestinal
health risks of the drug which led to a loss of millions of dollars once the health
risks were revealed. A later claim was filed by plaintiffs who sued the insured and
its executives for false representations and omissions regarding Celebrex’s
cardiovascular risks. While both claims involved representations about the drug,
the court found that the two claims “involved entirely distinct misrepresentations of
very different health risks associated with Celebrex” and were not interrelated.
         USAG argues that the criminal matters are plainly “related” to the Nassar
claims and that they share the same “operative facts”: the Nassar abuse and
USAG’s response to that abuse. Emmis Communs. Corp. v. Ill. Nat’l Ins. Co., 323 F.
Supp. 3d 1012, 1027 (S.D. Ind. 2018), aff’d on reh’g without op’n, 937 F.3d 836, (7th
Cir. 2019). However, the court in Emmis Communications Corp. found that
lawsuits were not “interrelated” because they did not share common operative facts
that provided support for the various legal claims that were being made. Id. at
1027. The court noted that “operative” facts were those “facts that form the basis of
the cause of action asserted in the lawsuits.” Id.
         Even if these criminal matters originated from Dr. Nassar’s conduct, such
circumstances are insufficient to establish that they all are “interrelated” claims.
Courts generally find claims to be distinct from one another, and therefore not
interrelated, where different plaintiffs, different facts, and different allegations are
involved. See Lehigh Valley Health Network v. Exec. Risk Indem., Inc., No. 1999-cv-
5916, 2001 WL 21505 (E.D. Pa. Jan. 10, 2001).

27Pfizer is an unpublished Delaware state court decision which is cited for its analysis and not as
precedent.

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      The Penny Criminal Matter does not share the same “operative” facts as the
Nassar claims. Penny was indicted on the distinctly different charge of tampering
with physical evidence, not with failure to properly supervise Dr. Nassar or with
being present in the same room when Dr. Nassar committed the abuse. While it is
true that Penny’s tampering with evidence would not have happened “but for”
Nassar’s abuse, the “but for” causation has been rejected as too tenuous to satisfy
the “causally connected” requirement. Ciber, 261 F. Supp3d. at 1127 (in
interpreting a substantially similar definition of “interrelated wrongful acts”, the
court there noted that “there is no basis to conclude that this Policy term
incorporates a causal relationship or “but-for” test.”). Amy White’s subpoena to
testify in front of a grand jury related to the Penny indictment is not interrelated
for the same reason. The White deposition is a different matter. The record
indicates that this deposition is in one of the Nassar athlete lawsuits. This matter
does arise from the same “operative facts” of Nassar’s abuse and thus it is an
“interrelated” claim.
      The Court finds that there is a genuine issue of material fact as to the nature
of the Van Horn Criminal Matter. It is not clear from the record whether Van Horn
was merely in the same room as Nassar when he abused an athlete or whether she
herself perpetrated the abuse. The former is an “interrelated” act; the latter is not.
      In sum, the Penny Criminal Matter and White subpoena matters are not
“interrelated” with the Nassar claims. The White deposition matter, however is.
There is a genuine issue of material fact as to whether the Van Horn Criminal
Matter is “interrelated” and thus neither USAG nor LIU will be granted summary
judgment on this discreet issue.
                   Endorsement No. 6 “Sub-Limit Endorsement”
      USAG addressed a new issue in its Response to LIU’s Motion for Summary
Judgment (Dkt. #146). In discussions between counsel, LIU has asserted that
Endorsement No. 6 limits its coverage to $250,000 for “Third Party EPL” claims.
Third Party EPL is not a defined term under the policy and therefore USAG argues



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there cannot be any sub-limit to the policy for coverage that is not extended nor
defined.
      Typically, a party may not raise a new issue in a Reply to the Response to
that party’s Motion for Summary Judgment. The procedural posture of this issue is
different because the Plaintiff filed a Motion for Partial Summary Judgment and
the Defendant filed a Motion for Summary Judgment thereafter. So, the issue of
the sublimit was actually raised in the Plaintiff’s Response to the Defendant’s
Motion for Summary Judgment. The Defendant then filed a Reply to this issue
(part VI of Dkt. #163) and the Plaintiff filed a Sur-Reply which is permitted under
Local Rule B-7056-1(d). The issue has been fully briefed. The context of this
adversary proceeding is significant. The parties have been participating in
mediation for months and a second mediator has been brought in, at the expense of
the defendants, to mediate the insurance issues. The next series of mediation
sessions begins November 19. For a full exploration of settlement possibilities,
certain unknowns must be resolved. It is in the best interests of the Debtor, the
insurance carriers, and the Survivors’ Committee for the mediation to result in a
settlement. The delay and costs of mass tort litigation across the country, a“rush to
the courthouse” by claimants, with the possibility of inconsistent results convince
the Court that resolving the sub-limit endorsement at this time is critical. There is
no gamesmanship apparent to the Court and no prejudice will result to LIU because
the issue has been briefed by both parties. Therefore, in the interests of justice, the
Court will address the issue of the “EPL” Sub-limit Endorsement.
      Endorsement No. 6 states:
      It is agreed that Item III of the Declarations Page is hereby amended
      by the addition of the following:
      ITEM III. LIMIT OF LIABILITY: $250,000 in the aggregate for
      the Policy Year.
      It is further agreed that the Limit of Liability provided under this
      endorsement is part of, and not in addition to, the Limit of Liability
      provided for in Item III of the Declarations and shall only apply as
      respects to:
                                   Third Party EPL


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        All other terms, conditions, and exclusions of this Policy remain
        unchanged.

        The parties agree that Third Party EPL is not a defined term under the
policy. LIU points out the policy that was in effect prior to the LIU policy at
issue here stated that the sublimit applied to “any Claim brought by or on
behalf of any Third Party for Employment Practices Wrongful Acts”. 28
        In the policy at issue, there is a definition for “Employment Practices
Wrongful Acts”, but not for “Third Party EPL”, the coverage referred to in the
Sub-Limit Endorsement. LIU’s citation to extrinsic evidence to explain an
ambiguous term is strictly forbidden by Indiana law. An insurer may not offer
extrinsic evidence to prove the meaning of policy terms. Eli Lilly & Co., 482
N.E.2d at 471.       The rules of insurance contract interpretation have been
exhaustively set forth hereinabove. It cannot be determined if LIU made a
mistake by using undefined and ambiguous terms in its Endorsement, or if the
policy contained a definition for Third Party for Employment Practices
Wrongful Acts when it should have contained a definition for Third Party EPL,
or if the inclusion of the Sub-limit Endorsement was itself a mistake. But, in
any case, the undefined term has no common meaning and results in an
unenforceable ambiguity in the policy. 29
        USAG concedes certain matters are not covered by the LIU policy.
They are the 7 non-Nassar matters involving 3 athletes, 3 coaches and one
lawyer’s lawsuit; a lawsuit filed against Katherine Gordon, and several yet to
be filed survivor lawsuits. USAG agrees that summary judgment should be
entered in favor of LIU on these matters. USAG has not requested




 LIU cites to new evidence of the 2015-2016 LIU policy attached to the Supplemental Adams
28

Declaration for comparison purposes.

29The Court would note that USAG could have avoided this discussion entirely by designating
evidence that Nassar was a volunteer, not an employee, if that is true which would have eliminated
the additional briefing.

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reimbursement from LIU for any litigation or other costs occasioned by the
filing of this bankruptcy matter and they are not addressed in this decision.


Based on the foregoing, the Court proposes that:
      (1)    USAG’s motion for partial summary judgment shall be granted,
in part, and that LIU has a duty to defend all claims against USAG with
respect to the Nassar Athlete Lawsuits, the Revocation Lawsuits, the IAG
Investigation, the Congressional Investigations, the USOC Investigation and
the White deposition matter;
      (2)    LIU’s cross motion for summary judgment shall be granted and
LIU has no duty to defend the Penny Criminal Matter, the White grand jury
testimony regarding the Penny indictment, and the non-Nassar matters
involving 3 athletes, 3 coaches and one lawyer’s lawsuit, the lawsuit filed
against Katherine Gordon, and several yet to be filed survivor lawsuits; and
      (3)    There is a genuine issue of material fact precluding summary
judgment for either party with respect to the Van Horn Criminal Matter.


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